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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE
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      STATE OF WASHINGTON, et al.,
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                                                               NO. C18-1115RSL
                           Plaintiffs,
 9                  v.                                         ORDER DENYING MOTION TO
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                                                               COMPEL EXPEDITED
      UNITED STATES DEPARTMENT OF                              PRODUCTION OF
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      STATE, et al.,                                           ADMINISTRATIVE RECORD

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                           Defendants.

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            This matter comes before the Court on “The States’ Motion to Compel Production of
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     Administrative Record in Accordance with 5 U.S.C. § 706.” Dkt. # 34. The record of the
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     decision-making process that led to the temporary and/or permanent revision of the United States
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18   Munitions List (“USML”) to allow the distribution instructions for the automated production of

19   3-D printed weapons is undoubtedly relevant to plaintiffs’ argument that the decision was
20   arbitrary and capricious. Plaintiffs acknowledge, however, that their procedural claims for
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     preliminary relief can be decided without consideration of the administrative record.
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            Plaintiffs’ motion in support of their request for a preliminary injunction has already been
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     filed, and defendants’ opposition is due in two days. The Court will not require the federal
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25   defendants to divert their attention from the agreed-upon briefing schedule to identify, collect,

26   and produce the administrative record, a task that will likely be complicated given the interplay
27   of agency action and litigation. The motion to compel the expedited production of the
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 1   administrative record is therefore DENIED at this juncture. If defendants rely on the unproduced
 2   record to oppose plaintiffs’ request for a preliminary injunction and plaintiffs need the record on
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     an expedited basis in order to rebut defendants’ factual representations, the Court will fashion
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     appropriate relief at or after the hearing on August 21, 2018.
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 7          Dated this 13th day of August, 2018.
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                                               Robert S. Lasnik
 9                                             United States District Judge
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